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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

TOM PALMER, derivatively on behalf
of MOHAWK INDUSTRIES, INC.,
                                              Civil Action No.: 4:20-cv-110-MHC
                    Plaintiff,
v.

JEFFREY S. LORBERBAUM,
FRANK H. BOYKIN, GLENN R.
LANDAU, WILLIAM
CHRISTOPHER WELLBORN, FILIP
BALCAEN, KAREN A. SMITH                       JURY TRIAL DEMANDED
BOGART, BRUCE C.
BRUCKMANN, RICHARD C. ILL,
JOSEPH A. ONORATO, WILLIAM
H. RUNGE III,

                    Defendants,

       and

MOHAWK INDUSTRIES, INC.,

Nominal Defendant.


      ORDER GRANTING JOINT MOTION TO STAY LITIGATION

      On July 17, 2020, Plaintiff and Defendants (collectively, the “Parties”) jointly

moved the Court to stay the litigation.




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      Having considered the Parties’ Joint Motion, the Court finds that there is good

cause to stay the litigation as requested. Therefore, the Parties’ Joint Motion is

GRANTED and IT IS HEREBY ORDERED that:

      1.       The Derivative Action should be stayed pending the earlier of (i) any

of the defendants in the Related Securities Class Action filing an answer to the

operative complaint, or (ii) the deadline for appealing a dismissal of the Related

Securities Class Action with prejudice.

      2.       Within thirty (30) days after the occurrence of either event listed in

paragraph 1, the parties in the Derivative Action shall meet and confer regarding

future case scheduling and will submit an update on the status of the case or a

proposed scheduling stipulation for this Court’s review and approval.

      3.       Notwithstanding the stay, Plaintiff shall be permitted to file an amended

complaint during the pendency of the stay. Defendants shall be under no obligation

to respond to any complaint while the stay is in effect. Defendants shall not be

obligated to respond to the complaint filed in the Derivative Action until a

scheduling stipulation has been entered by the Court pursuant to paragraph 2 above

after the stay has been lifted. Defendants reserve all of their defenses to the claims

asserted by Plaintiff, and the stay shall not be, and shall not be deemed, a waiver of

any of Defendants’ defenses.


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      4.       The Parties agree that during the pendency of this stay, in the event that

a mediation is held in an effort to settle the Related Securities Class Action,

Defendants’ counsel shall provide Plaintiff’s counsel with reasonable notice of said

mediation. In the event that a mediation is held in an effort to settle any derivative

lawsuit based on, or arising out of, the same set of facts as those alleged in the

Derivative Action, Defendants shall include Plaintiff in said mediation.

      5.       If the Related Securities Class Action proceeds to discovery during the

pendency of the stay, Defendants agree to provide to Plaintiff all documents

Defendants produce to the plaintiff in the Related Securities Class Action, subject to

the Parties entering into a mutually agreeable confidentiality agreement and/or

protective order.

      6.       Counsel for the Defendants will notify Plaintiff’s counsel if any other

stockholder derivative proceedings are initiated on behalf of Mohawk based on the

same set of facts alleged in the Derivative Action, based on the same or a similar set

of factual allegations as alleged in the Derivative Action.

      7.       In the event any other stockholder derivative proceeding is initiated on

behalf of Mohawk based on the same set of factual allegations as alleged in this

Action, the Stay shall not apply to any motions, stipulations, or any other related




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filings in such other proceedings pertaining to consolidation of such actions and/or

appointment of lead plaintiff(s) and lead and liaison counsel.

      8.       Subject to applicable federal or local rules, any party shall have the right

to move this Court to lift the stay of this action so long as such party provides at least

thirty (30) days’ written notice to the other parties prior to filing such a motion. If

this Court grants a motion to lift the stay, the parties shall meet and confer regarding

a scheduling stipulation as set forth in paragraph 2 above and Defendants shall not

be obligated to respond to any complaints filed in the Derivative Action until the

date agreed to by the parties and/or ordered by the Court.



      SO ORDERED this 20th day of July, 2020




                                          Mark H. Cohen
                                          United States District Judge
                                          Northern District of Georgia




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